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          In the United States Court of Federal Claims
____________________________________
                                  )
PRECISION PINE & TIMBER, INC., )
                                  )                       No. 98-720 C
                                  )
                 Plaintiff,       )
v.                                )                       Filed April 29, 2005
                                  )
THE UNITED STATES,                )
                                  )
                 Defendant.       )
_________________________________)


                                           ORDER

       On April 18, 2005, defendant filed a Motion in Limine to Exclude Testimony From
Ronald D. Lewis, document 315. Plaintiff filed a response to defendant’s motion on April 28,
2005, document 333. The Court is of the view that the admissibility of Mr. Lewis’s testimony
under Federal Rule of Evidence 701 should be left for determination at trial. Accordingly,
defendant’s Motion in Limine to Exclude Testimony From Ronald D. Lewis is DENIED.

IT IS SO ORDERED.

                                                    s/ George W. Miller
                                                   GEORGE W. MILLER
                                                   Judge
